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                      EXHIBIT 4
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                                                                                                       USOO738663 OB2


(12) United States Patent                                                           (10) Patent No.:     US 7,386,630 B2
     Liong et al.                                                                   (45) Date of Patent:      Jun. 10, 2008
(54) USING POLICY-BASED MANAGEMENT TO                                                  6,611,532 B1* 8/2003 Madour et al. ............. 370/466
        SUPPORT DIFFSERV OVER MPLS                                                     6,625,650 B2 * 9/2003 Stelliga ...................... TO9,226
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(75) Inventors: Yin LingLiong, Woburn, MA (US);                                        6,680,943 B1* 1/2004 Gibson et al. .............. 370/392
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(73) Assignee: Nokia Corporation, Espoo (FI)                                           6,778.496 B1* 8/2004 Meempat et al. ........... 370/230
(*) Notice: Subject to any disclaimer, the term of this                                6,778.498 B2 * 8/2004 McDysan ................... 370,231
                patent is extended or adjusted under 35
                U.S.C. 154(b) by 0 days.
(21) Appl. No.: 10/719,371                                                                                 (Continued)
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(22) Filed:           Nov. 21, 2003
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(65)               Prior Publication Data                                       ment, RFC3 198 (2001).
        US 2004/O221051A1     Nov. 4, 2004                                                               (Continued)
               Related U.S. Application Data                                    Primary Examiner William Vaughn
                                                                                Assistant Examiner Kristie D Shingles
(60) Eyal application No. 60/467.233, filed on Apr.                             (74) Attorney, Agent, or Firm—Squire, Sanders & Dempsey,
          s                                                                     LLP.

(51) Int. Cl.
        G06F 5/73                 (2006.01)                                     (57)                      ABSTRACT
        G6F 5/6                   (2006.01)
.             o Cl- - - - - - f - - - - - r S 78. 70s.ise                       A policy server operates to configure differentiated services
(58) Field o 7 ysation 2                     st 9,245.236 240, 223.             over multi-protocol label switching (Diffserv/MPLS) in a
                    370,392. 352. 230. 252. 231. 395. 400. 389.                 communications network. The policy server enables the
                             s     s     s      s    s        s 7 13F153        definition and deployment of a customer policy, a network
        See application file for complete search histo                          policy and a mapping policy. The policy server is arranged
             pp                      p                 ry.                      to create a group of MPLS tunnels, and associate the tunnels
(56)                     References Cited                                       to the mapping policy and the customer policy. The cus
                                                                                tomer policy includes a tunnel group identifier and a tun
                   U.S. PATENT DOCUMENTS                                        neling mode, and maps customer traffic to MPLS tunnels.
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       6,167.445   A   12/2000 Gai et al. ...................    709,223        mands, and then deploys the device-specific commands to
       6,170,009   B1* 1/2001 Mandal et al. ..............       709,223        the network interfaces of the affected network devices.
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       6,522,627   B1* 2/2003 Mauger ......................      370,230                         23 Claims, 9 Drawing Sheets

                                                                     POLICYBASED
                                                                     MANAGEMENT
                                                    DIFFSER
                                                                           policy
                                                                           SERVER
                                                                      LTT
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                                                                         Serve-Aware MPLS Traffic Engineering, draft-ietf-tewg-diff-te
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         IIO                                                I20

           DIFFSERV                X         (-,
                             130             130




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                             POLICYBASED
                             MANAGEMENT
        DIFFSERV
                                   Policy
                                   SERVER
                             LTT




                             A2.2
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                                                        CUSTOMERX




                                                        CUSTOMERY
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                       NETWORKDEVICE
                       400
                                            ...
                                          NETWORK
                        PROCESSOR I       INTERFACE
                                                  g!




                                                   POLICYSERVER
                   SERVICE                                 410
                 APPLICATION
                          412
                   CENTRAL
                  PROCESSING       DATABASE         DATABASE
                   FACILITY         ACCESS               418
                          414             420            ease

                   POLICY
                  CONSUMER
                          416

               TOPOLICY TARGETS

                                  A2,425
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                                 SERVICEAPPLICATION U.
                  7-N-N
          424                          430           DEVICES
                      SERVICES
          426                          432     MPLS TUNNELS
                     APPLICATION
          428                          434    NETWORK POLICIES
                      CUSTOMER



                                     A2,46



                SERVICES              SERVICENAME
            APPLICATION           Application
                                       CATION NAME
             CUSTOMER         hostGroup
                                 RAFFICPROFilesTGROUP,
                                        TRAFFICPROFILES CUSTOMER
                                                               POLICIES
                DEVICES                ROLE NAMES
            MPLS TUNNELS              TUNEl
                                       UNNEL Group
                                             GROUP
                                     TUNNELING MODE



                                     A2,42
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                           TO NETWORK INTERFACES



                                                              434
                              NETWORK POLICIES


                        ROLE NAMES                     SERVICENAMES

          430                                                       424
                    DEVICES                        SERVICES


                                   A2,42



                 TUNNEL CHARACTERISTICS


                     EXPLICITROUTE
                                                         TUNNEL
                                                         GROUP
                    AFFINITY PROFILE


         450        EXPSERVICE MAP             -   a




                                   A2, Z/7
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              "NAssigNRole NAMEstonETWORKINTERFaces
                 520
                            DEFINEA MAPPING POLICY


                 530          CREATE TUNNEL GROUP

                 540
                          DETERMINEA CUSOMERPOLICY


                 550         DEFINE NETWORK POLICY


       560       STORE DEVICENEUTRAL INFORMATION INDATABASE


       570       TRANSLATE THE MAPPINGPOLICY, CUSTOMERPOLICY
               AND NETWORK POLICY INTO DEVICESPECIFICCOMMANDS


       580     DEPLOYDEVICESPECIFICCOMMANDS TOPOLICY TARGETS



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         610


  620




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               SS
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                                                     US 7,386,630 B2
                              1.                                                                      2
    USING POLICY-BASED MANAGEMENT TO                                   thus enables an operator to better utilize the network
        SUPPORT DIFFSERV OVER MPLS                                     resources, while providing a wide range of services to users.
                 NETWORK                                               MPLS may be used for traffic engineering, Virtual Private
                                                                       Network (VPN) services, fault-tolerance protection, and the
           CROSS REFERENCE TO RELATED                                  like. Ingress routers at the edge of an MPLS domain classify
                  APPLICATIONS                                         incoming IP packets into one of the available forward
                                                                       equivalent classes (FEC) or groups of packets. The similarly
  This application claims benefit under 35 United States               classified packets are then forwarded in the same manner
Code S 119(e) of U.S Provisional Application No. 60/467,               (i.e., follow the same path) inside the domain. That path,
233 filed on Apr. 30, 2003.                                       10   considered unidirectionally, is defined as a label switched
                                                                       path (LSP). LSPs can be configured by using label distri
               FIELD OF THE INVENTION                                  bution protocols (LDPs) such as resource reservation pro
                                                                       tocol with traffic engineering extensions (RSVP-TE) and
  This invention relates to communication networks, and                constraint based routing label distribution protocol (CR
data packet routing in Such networks.                             15   LDP). A setup priority and holding priority may be associ
                                                                       ated with an LSP. The setup priority defines the priority of
                      BACKGROUND                                       the LSP during setup, whereas the holding priority defines
                                                                       the pre-emption priority of the LSP.
  A communication network can be made from a group of                     Accordingly, MPLS traffic engineering allows adminis
routers, Switches, and other related devices. Some of these            trators to establish routes for certain customers based on
devices are interconnected.                                            information other than the shortest path, Such as delay and
  In communication networks, data is transmitted in the                bandwidth available along the path. Therefore, MPLS can
form of individual packets. The data packets are transmitted           relieve congestion and maximize bandwidth utilization by
from one device to the next. Each packet is made from bits.            allowing multiple paths between source and destination.
Some bits are the payload, meaning they encode the infor          25      MPLS, however, does not define or contain QoS services.
mation that is to be transmitted. Other bits are part of a             Therefore, combining MPLS with Diffserv is desirable, as it
header, which encodes information Such as where the packet             would enable a MPLS functionality that also performs with
is to be transmitted to.                                               IP QoS support.
   FIG. 1 shows communication network 100. Network 100                    As can be seen from arrows 130. Diffserv functionality
includes devices at its nodes, some of which are shown as         30   110 does not work easily with MPLS functionality 120. In
dots, and interconnections between the devices that are                order to Support the two solutions concurrently, cumbersome
shown as lines joining the dots. The devices of network 100            mappings between Diffserv and MPLS policies have been
make frequent decisions as to how to route the data packets,           attempted. To Support interworking, administrators have to
i.e. upon receiving a packet, which device to forward it to            identify the MPLS edges and configure the edge devices
neXt.                                                             35   through element management. In other words, administra
   Normally routing and packet treatment decisions are                 tors have to configure the edge devices one by one, and issue
made by network 100 automatically. Absent other distin                 device-specific commands to support E-LSP and different
guishing inputs, network 100 treats all incoming packets the           tunnelling mode.
same. For example, some Interior Gateway Protocols (IGP),                 Moreover, to the inventors knowledge, currently there is
such as open shortest path first (OSPF) and intra-domain          40   no commercial Solution addressing the policy management
intermediate system to intermediate system routing protocol            of Diffserv over MPLS with regards to the configuration of
(IS-IS), route IP packets based only on the destination                E-LSP and tunnelling mode. There would be many chal
address and the shortest path to reach the destination.                lenges in Supporting Diffserv/MPLS policy management
   Protocols and functionalities have emerged for making               due to different recommendations from the standards, and
Such packet treatment and routing decisions in more Sophis        45   the limited capabilities supported at the network elements.
ticated ways. One of them is called Differentiated services               Two standards for supporting the interoperability of Diff
(Diffserv), and another is called Multi-protocol label switch          serv and MPLS are: EXP-inferred-PHB scheduling class
ing (MPLS).                                                            LSP (E-LSP), and label-only-inferred-PHB scheduling class
   Network 100 uses Diffserv functionality 110. Differenti             LSP (L-LSP). An E-LSP uses the experimental (EXP) field
ated services (Diffserv) provides a scalable Quality of Ser       50   in the MPLS shim header to infer the PHB of a packet. An
vice (QoS) support for internet protocol (IP) networks.                L-LSP uses the MPLS label to carry the Per-hop Scheduling
Packet traffic is classified and conditioned at the edge of the        Class (PSC) and the EXP field to convey the PHB.
network by edge devices, such as edge routers or gateways.                Two essential elements serve the interoperability Diff
A Diffserv code point (DSCP) is then applied to the IP                 serv/MPLS: EXP-to-PHB mapping and tunneling mode. To
header of each packet. Core routers of the network handle         55   support E-LSP, an EXP-to-PHB mapping is defined to
packets in different traffic streams by forwarding them with           ensure rule consistency across a network. The mapping is
different per-hop behaviors (PHB). The PHB to be applied               configured into the routers directly, or through RSVP-TE or
is indicated by the DSCP in each packet header. When using             constraint based routing LDP (CR-LDP) signaling during
Diffserv, many traffic streams can be aggregated to a small            tunnel set-up. To support L-LSP, the label-to-PSC and
number of behavior aggregates that are each forwarded             60   EXP-to-PHB mapping is defined. Since the MPLS labels are
using the same PHB at core routers. Thus, Diffserv func                Swapped at every hop, operators are forced to rely on
tionality 110 simplifies the processing and storage require            signaling to set the label and EXP mapping. Tunneling mode
ments at COre routerS.                                                 defines the method of translating the Diffserv information in
  Network 100 also uses MPLS functionality 120. Multi                  the MPLS headers (labels and EXP field) into the DSCP
protocol label switching (MPLS) is a packet-forwarding            65   value in the encapsulated IP header when packets exit the
technology that gives IP operators a high degree of control            MPLS network. There are two essential modes of tunneling:
over the paths taken by packets on their networks. MPLS                pipe mode and uniform mode. For pipe mode, the egress
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                           3                                                                        4
router keeps the DSCP of the encapsulated IP header. For               destination, and optionally also a common path. The term
uniform mode, the egress router overwrites the original                "node” refers to a network element that interconnects one or
DSCP with the DiffServ information contained in the MPLS               more devices, or even networks. The term “user” refers to
Shim Header.                                                           any person or customer Such as a business or organization
                                                                       that employs a device to communicate or access resources
        BRIEF DESCRIPTION OF THE DRAWINGS                              over a network. The term “operator” refers to any technician
                                                                       or organization that maintains or services a packet-based
   The invention will become more readily apparent from                network.
the following Detailed Description, which proceeds with                  The term “router refers to a dedicated network element
reference to the accompanying drawings, in which:                 10   that receives packets and retransmits them, for forwarding
   FIG. 1 is a diagram showing a communication network                 them towards their destination. In particular, a router is used
attempting to support a Diffserv functionality and a MPLS              to extend or segment networks by forwarding packets from
functionality;                                                         one node to another, or even one logical network to another.
   FIG. 2 is a diagram showing how policy based manage                 A router typically operates at layer 3 and below of the
ment operates to support the Diffserv functionality and the       15   standard Open Systems Interconnection (OSI) reference
MPLS functionality in the communication network of FIG.                model for networking. However, Some routers can provide
1 according to the invention;                                          additional functionality that operates above layer 3 of the
   FIG. 3 is a diagram illustrating a particular network               OSI reference model.
implementing a policy server according to the present inven               Briefly, the present invention provides devices, software
tion;                                                                  and methods for policy based management of two combined
   FIG. 4A is a block diagram of a network device;                     functionalities (Diffserv over MPLS) in a single network.
   FIG. 4B is a block diagram illustrating an architecture of          Packet-forwarding policies are in place to administer, man
a policy server according to an embodiment of the invention;           age and control access to network resources. In one embodi
   FIG. 4C is a block diagram illustrating an architecture of          ment, a policy server is employed to implement the man
a service application;                                            25   agement of the network as a whole. The policy server
   FIG. 4D is a block diagram illustrating an interaction of           translates business goals or policies into configurations of
a customer policies object with other objects in a service             network resources, and automates the configurations across
application;                                                           multiple different network elements and different technolo
   FIG. 4E is a block diagram illustrating an operation of a           gies (e.g. MPLS and Diffserv). The centralized approach
network policies object;                                          30   ensures policy consistency across multiple network ele
   FIG. 4F is a block diagram illustrating the policy elements         ments. The invention is now described in more detail.
of a MPLS tunnels object;                                                 FIG. 2 shows network 100 of FIG.1. In addition, policy
   FIG. 5 is a flowchart illustrating a method according to the        based management block 200 according to the invention
invention;                                                             ensures that Diffserv functionality 110 interoperates well
  FIG. 6 is a flowchart illustrating another method accord        35   with MPLS functionality 120. Block 200 may be imple
ing to the invention; and                                              mented by standalone policy server 220. Alternately, the
  FIG. 7 is a block diagram illustrating the policy server             functionality of server 220 may be implemented by any
implemented in a 3G network.                                           other suitable device with policy server capability, and
                                                                       which is within or outside network 100, and may or may not
                DETAILED DESCRIPTION                              40   have additional assignments.
                                                                          Block 200 operates to configure differentiated services
  The present invention is now described. While it is                  over multi-protocol label switching (Diffserv/MPLS) in net
disclosed in its preferred form, the specific embodiments of           work 100. In broad terms, block 200 operates as a translator
the invention as disclosed herein and illustrated in the               to simplify different policy mapping. And once the mapping
drawings are not to be considered in a limiting sense. Rather,    45   is defined, the invention automates the deployment of the
these embodiments are provided so that this disclosure will            mapping across the network to simplify the management.
be thorough and complete, and will fully convey the scope                 More particularly, block 200 includes a customer policy,
of the invention to those skilled in the art. Indeed, it should        a network policy and a mapping policy. Block 200 is
be readily apparent in view of the present description that the        arranged to create a group of MPLS tunnels, and associate
invention may be modified in numerous ways. Among other           50   the tunnels to the mapping policy and the customer policy.
things, the present invention may be embodied as devices,              The customer policy includes a tunnel group identifier and
methods, Software, and so on. Accordingly, the present                 a tunneling mode, and maps customer traffic to MPLS
invention may take the form of an entirely hardware                    tunnels. Block 200 then translates the customer policy, the
embodiment, an entirely software embodiment or an                      network policy and the mapping policy into device-specific
embodiment combining software and hardware aspects. The           55   commands, and then deploys the device-specific commands
following detailed description is, therefore, not to be taken          to policy targets. In this case, policy targets are network
in a limiting sense.                                                   devices that are to implement the specific routing assign
   Throughout the specification and claims, the following              ments, and the device specific commands are deployed to the
terms take the meanings explicitly associated herein, unless           interfaces of such network devices. The network interfaces
the context clearly dictates otherwise. The meaning of “a.        60   are arranged to have assigned role names. Interfaces with the
“an, and “the may also include plural references. The                  same role names will get the same set of rules or policies.
meaning of “in” includes “in” and “on.”                                Each role name is then associated with a network policy and
   Some particular terms for the present description are also          a customer policy.
listed to avoid any confusion. The term “packet' refers to an            FIG. 3 illustrates a diagram of a network implementing a
IP (Internet Protocol) packet. The term “flow” means a flow       65   policy server according to aspects of the invention. It will be
of packets through a network. The term “connection” refers             recognized that network 354 is a particular case of network
to a flow or flows of packets that share common source and             100, and policy server 310 is a particular case of policy
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                              5                                                                      6
server 220. Network 354 is to be used by two customers X,             service policies when a new service level agreement (SLA)
Y. Network 354 includes two edge routers 356 and two core             is created or when an existing SLA is modified according to
routers 358. Policy server 310 can assign different customer          the invention. An IP operator may further modify network
applications into different Diffserv classes by service poli          policies when new facilities are added into a network or
cies, and allocate the resources accordingly by network               when traffic patterns are changed significantly.
policies. Such will control which one of the network paths               Customer policies define the rules applied to forward
360 will be followed along one or more communication                  certain types of customer traffic. Customer policies include
links 362, for communication within each of customers X, Y.           Source? destination host groups, application profiles, traffic
   FIG. 4A is a block diagram of network device 400 made              profiles, service class, policing action and role names. Cus
according to an embodiment of the invention. Device 400          10   tomer policies can be extended to include a tunnel group
may be any network device that can be a policy server. For            identifier and a tunneling mode, when supporting MPLS.
example, device 400 may be an implementation of policy                   Mapping policies may configure a one-to-one mapping
server 220, 310, etc. Device 400 may be implemented by                between an EXP field and a unique PHB. The PHB can be
combining separate components. Alternately, one or more of            identified by a DSCP value. However, there is a limited
the components of device 400 may be implemented as an            15   number of DSCP values, but unlimited number of PHB. If
Application Specific Integrated Circuit (ASIC), etc.                  a DSCP value is mapped into multiple PHBs, a different
   Device 400 includes network interface 402 for interfacing          PHB identifier can be defined. For example, a PHB can be
with a communications network, such as networks 100, 354,             identified by a service name.
etc. Device 400 also includes processor 404 coupled with                 In a large network, the same set of policies can be applied
network interface 402. Processor 404 may be implemented               to multiple routers or network interfaces. To achieve better
as a Central Processing Unit (CPU), or any other equivalent           Scalability, network interfaces are assigned role names and
way known in the art. In one embodiment, device 400                   the policies are specified and associated with the roles name.
additionally includes memory 408, on which program 409                Network interfaces identified by the same role names
may reside. Functions of processor 404 may be controlled by           receive the same set of policies.
program 409, as will become apparent from the below.             25     In one embodiment, a common information model
Alternately, processor 404 may be implemented as a Digital            describes policies as relationships between network objects.
Signal Processor (DSP), etc.                                          The information model derives a schema for database 418,
   FIG. 4B is a block diagram illustrating the operational            such that the policy stored in database 418 is device-neutral.
architecture of policy server 410 that supports Diffserv over         In a multi-vendor environment where routers from different
MPLS traffic engineering according to an embodiment of the       30   vendors are configured through different protocols, policy
invention. The architecture of policy server 410 may be               server 410 translates the policy stored in database 418 into
used, for example, in implementing policy server 220 of               device-specific commands, and delivers the resulting policy
FIG. 2, and/or some of programs 409 of FIG. 4A. Various               through the specific protocol. The information model
blocks of the operational architecture may be implemented             enables a consistent provision of policies across multi
in software or otherwise, as also described elsewhere in this    35   vendor networks.
document.                                                                FIG. 4C is a block diagram illustrating an architecture of
   Policy server 410 includes service application 412, central        service application 412 of FIG. 4B according to one embodi
processing facility 414, and policy consumer 416, all                 ment the invention. Service application 412 includes ser
coupled to database 418 through database access block 420.            vices object 424, application object 426, customers object
Block 420 provides for read and write operations of database     40   428, devices object 430, MPLS tunnels object 432 and
418. Alternately, database 418 may equivalently be provided           network policies object 434. It will be appreciated that it
as separate from server 410.                                          permits IP operators to have substantial input.
   Service application 412 includes a graphical user interface           Services object 424 allows IP operators to define the
(GUI) that allows an IP operator in the future to configure           services to be provided to customers. In one embodiment,
policies interactively. Accordingly, an operator will be able    45   each service is defined as a mapping between a service name
to add, delete or modify policies. Central processing facility        and any of the fourteen DSCP numbers defined by the
414 translates the policies into device-neutral policy param          Internet Engineering Task Force (IETF). Application object
eters, and stores these parameters in database 418. Central           426 allows IP operators to define applications for the clas
processing facility 414 may also conduct policy verification,         sification of traffic flows such as protocol, Source port and
conflict detection and resolution. Policy consumer 416 may       50   destination port ranges according to the invention. Customer
provide an interface for policy server 410 to communicate             object 428 allows IP operators to define customer policies
with policy targets. A policy target refers to any network            for each customer. Customer object 428 may also contain
device at a network node where the policy is enforced, such           host groups and metering profiles associated with each
as a router. Policy consumer 416 translates the device                customer. Devices object 430 contains information about
neutral policies stored in database 418 into device-specific     55   network elements that receive the policies from policy
commands, and deploys the device-specific commands to                 server 410. IP operators use devices object 430 to assign role
the policy targets.                                                   names to the policy targets. Most other policy target infor
   According to one embodiment, different types of policies           mation in devices object 430 is directly imported into
are used including: Service policies, network policies, cus           database 418 from an element management database. MPLS
tomer policies and mapping policies. Service policies map a      60   tunnels object 432 allows IP operators to configure the
service name chosen by an operator to any of the fourteen             MPLS network components such as tunnel group, explicit
DSCP numbers defined by Difserv.                                      routes, CBR (constraint base routing) and EXP-PHB map
   Network policies refer to rules that govern the treatment          ping, i.e., MPLS tunnels object 432 specifies the MPLS and
of aggregated traffic, such as queue and scheduler configu            Diffserv/MPLS policies. Network policies object 434 allows
rations for behavior aggregates. In the case of the present      65   IP operators to define the network policies that specify the
invention, the treatment is the Diffserv treatment of the             queuing and scheduling treatment of a specific service and
aggregated traffic. For example, an IP operator may modify            that are attached to specific network interfaces.
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   FIG. 4D is a block diagram to illustrate the interaction              in services object 424. Since each service is linked to a
between a customer policies object and other objects in                  DSCP value in the Diffserv network, the mapping also
service application 412. Customer policies object 436                    translates the EXP field into a specific DSCP value. Thus,
includes rules that govern the treatment of individual cus               service differentiation is achieved by parsing MPLS shim
tomer traffic Such as classification and metering rules. The             headers. The static mapping is distributed to all routers
classification rules include an application name Supplied by             during policy deployment, thus limiting the number of
application object 426, and Source? destination host groups              Diffserv classes to eight. In order to Support more than eight
supplied by customer object 428. The metering rules use an               Diffserv classes in the network, EXP-service map 450 can be
algorithm specified by traffic profiles which are supplied to            attached to tunnel group 442, as indicated by the dotted
service policies object 436 by customer object 428. Devices         10   arrow in FIG. 4F.
object 430 provides the role names to service policies object               The linking of tunnel group 442 in customer policies
436 such that service policies object 436 can be applied to              object 436 identifies the LSPs that carry customer traffic.
the policy targets. MPLS tunnels object 432 provides infor               Tunneling mode decides which DSCP code point is carried
mation about tunnel group and tunneling mode to customer                 in the IP headers when a packet exits the MPLS network.
policies object 436. Customer policies object 436 defines           15   Tunnel group 442 and tunneling mode are used if operators
non-conformance action (e.g., marking or dropping) after                 use MPLS to carry customer traffic. If MPLS is not used,
metering, and maps the traffic into the desired MPLS tunnels             tunnel group 442 and tunneling mode can be left empty.
and tunneling mode.                                                        In order to decide which network interfaces should
   FIG. 4E is a block diagram illustrating an operation of a             receive the Diffserv/MPLS customer policies, the policy
network policies object. Devices object 430 allows operators             server utilizes input/output role names, and the MPLS
to assign role names to the network interfaces. Network                  gateways of the source and destination hosts. The input role
policies object 434 specifies the Diffserv configuration, and            names are assigned to the ingress interfaces of the tunnel
applies the configuration to the role names. Network policies            group’s edge devices. The output role names are assigned to
object 434 then deploys the network policies to the network              the egress interfaces of the tunnel group’s edge devices. The
interfaces through the associated role names. For example,          25   customer traffic may enter or leave from one or a subset of
if network device 400 is used to implement of the network                the tunnel group’s edge devices. Thus, the MPLS gateways
switches, then the policies are deployed to affect network               of the source and destination host groups are specified to
interface 402.                                                           decide which network interfaces the policy deploys to. For
   Services object 424 defines the service policies, and thus            example, to map classified traffic into a specific MPLS
provides service names to network policies object 434. The          30   tunnel, the rule deploys to the ingress interfaces of the
service name selects the Diffserv class that Supports classi             Source gateways. Similarly, to configure the tunneling mode,
fied traffic. Network policies object 434 defines the PHB                the rule deploys to the egress interfaces of the destination
used to support a particular service or Diffserv class. Such as          gateways.
queuing and scheduling. In each network interface, all LSPs                The present invention may be implemented by one or
share the same queue if they have the same PSC, and no              35   more devices that include logic circuitry. The device per
per-LSP queuing is employed.                                             forms functions and/or methods as are described in this
   FIG. 4F is a block diagram to illustrate policy elements of           document. The logic circuitry may include a processor that
an MPLS tunnels object. The policy elements include tunnel               may be programmable for a general purpose, or dedicated,
group 442, tunnel characteristics object 444, explicit route             Such as microcontroller, a microprocessor, a Digital Signal
object 446, affinity profile object 448, and EXP-service map        40   Processor (DSP), etc. For example, the device may be a
450. Tunnel group 442 is a set of tunnels that share the same            digital computer like device, such as a general-purpose
properties and form a certain topology, such as a mesh or a              computer selectively activated or reconfigured by a com
star. Tunnel group 442 identifies the tunnels that carry traffic         puter program stored in the computer. Alternately, the device
of identified customers. Tunnel group 442 is created by                  may be implemented an Application Specific Integrated
specifying end point devices, and by connecting topology            45   Circuit (ASIC), etc.
and tunnel specific properties. Tunnel specific properties can              Moreover, the invention additionally provides methods,
include bandwidth, traffic profiles, holding priority, setup             which are described below. The methods and algorithms
priority and route constraints. Tunnel group 442 also serves             presented herein are not necessarily inherently associated
as an identifier that the different policies associate with, such        with any particular computer or other apparatus. Rather,
as the EXP-to-PHB mapping policy. Tunnel group 442                  50   various general-purpose machines may be used with pro
configures (i.e., creates, maintains and deletes) MPLS tun               grams in accordance with the teachings herein, or it may
nels such that IP operators do not need to create tunnels                prove more convenient to construct more specialized appa
individually. Instead, IP operators specify the end-point                ratus to perform the required method steps. The required
routers and the inter-connecting topology. The internal                  structure for a variety of these machines will become
routes traversed by a tunnel are determined by the underly          55   apparent from this description.
ing routing protocols, such as OSPF or IS-IS. In the case of               In all cases there should be borne in mind the distinction
star topology, the hub and the spokes are specified explicitly.          between the method of the invention itself and the method
Tunnel characteristics object 444 includes profiles that                 of operating a computing machine. The present invention
specify the parameters for resource reservation and policing             relates both to methods in general, and also to steps for
per MPLS tunnel. Explicit route object 446 allows IP                60   operating a computer and for processing electrical or other
operators to explicitly specify the desired path for forward             physical signals to generate other desired physical signals.
ing packets.                                                                The invention additionally provides programs, and meth
   The Diffserv/MPLS policy elements include EXP-service                 ods of operation of the programs. A program is generally
map 450 and the linking of tunnel group 442 and tunneling                defined as a group of steps leading to a desired result, due
mode in customer policies object 436. EXP-service map 450           65   to their nature and their sequence. A program made accord
allows IP operators to configure the mapping between the                 ing to an embodiment of the invention is most advanta
EXP field in the MPLS shim header and the Services defined               geously implemented as a program for a computing
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machine, such as a general-purpose computer, a special                     In the present case, methods of the invention are imple
purpose computer, a microprocessor, etc.                                mented by machine operations. In other words, embodi
   The invention also provides storage media that, individu             ments of programs of the invention are made Such that they
ally or in combination with others, have stored thereon                 perform methods of the invention that are described in this
instructions of a program made according to the invention.         5    document. These may be optionally performed in conjunc
A storage medium according to the invention is a computer               tion with one or more human operators performing some,
readable medium, Such as a memory, and is read by the                   but not all of them. As per the above, the users need not be
computing machine mentioned above.                                      collocated with each other, but each only with a machine that
   The steps or instructions of a program made according to             houses a portion of the program. Alternately, some of these
an embodiment of the invention requires physical manipu            10   machines may operate automatically, without users and/or
lations of physical quantities. Usually, though not necessar            independently from each other.
                                                                          Methods of the invention are now described.
ily, these quantities may be transferred, combined, com                    FIG. 5 is flowchart 500 illustrating a method according to
pared, and otherwise manipulated or processed according to
the instructions, and they may also be stored in a computer             an embodiment of the invention for configuring policies in
readable medium. These quantities include, for example             15   a Diffserv/MPLS policy server in a scalable manner. These
electrical, magnetic, and electromagnetic signals, and also             methods can be practiced by an existing Diffserv policy
states of matter that can be queried by Such signals. It is             manager, by an MPLS tunnel manager to support Diffserv
convenient at times, principally for reasons of common                  over MPLS, and/or other embodiments of the invention.
usage, to refer to these quantities as bits, data bits, samples,           In flowchart 500, role names are optionally assigned to the
values, symbols, characters, images, terms, numbers, or the             network interfaces at block 510. A mapping policy is defined
like. It should be borne in mind, however, that all of these            at block 520. The mapping policy is configured to map
and similar terms are associated with the appropriate physi             between an EXP field and a unique PHB. A tunnel group is
                                                                        created at block 530.
cal quantities, and that these terms are merely convenient
labels applied to these physical quantities, individually or in           A customer policy is determined at block 540. Either it is
groups.                                                            25   defined, or an existing one is identified and used. The
   This detailed description is presented largely in terms of           customer policy defines traffic rules on the network. The
flowcharts, display images, algorithms, and symbolic rep                customer policy includes information about the tunnel group
                                                                        and a tunneling mode. A network policy is defined at block
resentations of operations of data bits within at least one             550.
computer readable medium, Such as a memory. An economy                    At block 560, information is stored in a database. In one
is achieved in the present document in that a single set of             embodiment, the information is device neutral. For example,
flowcharts is used to describe both methods of the invention,           the mapping policy may be stored at a policy server. The
and programs according to the invention. Indeed, Such                   tunnel group may also be added to a policy server. More
descriptions and representations are the type of convenient             over, device neutral information associated with the cus
labels used by those skilled in programming and/or the data        35   tomer policy may be stored in a policy server database. This
processing arts to effectively convey the Substance of their            way, the defined mapping, customer, and network policies
work to others skilled in the art. A person skilled in the art          can be maintained.
of programming may use these descriptions to readily gen                  At block 570, the mapping policy, customer policy and
erate specific instructions for implementing a program                  network policy are translated into device specific com
according to the present invention.                                40   mands. During the translation, the policy server makes use
   Often, for the sake of convenience only, it is preferred to          of the host groups and the application profiles specific to the
implement and describe a program as various interconnected              customer traffic that receives the policy. In one embodiment,
distinct software modules or features, individually and col             the policies are translated from information that has been
lectively also known as Software. This is not necessary,                Stored at block 560.
however, and there may be cases where modules are equiva           45      At block 580, the device specific commands are deployed
lently aggregated into a single program with unclear bound              to policy targets, which are the affected network devices.
aries. In any event, the software modules or features of the            The device-specific commands of the mapping policy are
present invention may be implemented by themselves, or in               deployed to the ingress interfaces of the MPLS edge devices.
combination with others. Even though it is said that the                If more than one mapping policy exists, each mapping
program may be stored in a computer-readable medium, it            50   policy is attached to the associated MPLS tunnels and is
should be clear to a person skilled in the art that it need not         deployed to the ingress interfaces of the attached tunnels.
be a single memory, or even a single machine. Various                   Customer policies are deployed to the policy targets iden
portions, modules or features of it may reside in separate              tified by the input roles, output roles and the MPLS gate
memories, or even separate machines. The separate                       ways of the customer host groups. Deploying the device
machines may be connected directly, or through a network,          55   specific commands results in implementing the policy across
Such as a local access network (LAN), or a global network,              at least part of the network.
Such as the Internet.                                                      Block 580 may be performed a number of ways. One such
   It will be appreciated that some of these methods may                way is to generate a new configuration file to replace the file
include software steps which may be performed by different              currently in use by the network device. The second approach
modules of an overall parts of a software architecture. For        60   is described below.
example, data forwarding in a router may be performed in a                FIG. 6 is flowchart 600 illustrating a method according to
data plane, which consults a local routing table. Collection            an embodiment of the invention. The method of flowchart
of performance data may also be performed in a data plane.              600 may be practiced by different embodiments of the
The performance data may be processed in a control plane,               invention, including but not limited to a policy server.
which accordingly may update the local routing table, in           65     The current configuration of a router is determined at
addition to neighboring ones. A person skilled in the art will          block 610. The configuration includes information about
discern which step is best performed in which plane.                    access lists, classification rules, policies, MPLS tunnels, and
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the like. Then at block 620 it is determined which configured              wherein the service application is arranged to configure
policies are wanted and which are not. Then at block 630                      an experimental-to-per-hop-behavior mapping
unwanted policies are erased. Then at block 640 the router                    policy that is arranged to map experimental fields to
is reconfigured by deleting unwanted policies, and replacing                  per-hop-behavior;
them with new command line interface (CLI) commands                     a central processing facility that is arranged to translate
that the current set of policies has determined to deploy.                 the customer policy and mapping policy into device
   FIG. 7 illustrates an example of the policy server imple                neutral policy parameters; and
mented in third generation (3G) networks. MPLS tunnels                  a policy consumer that is arranged to translate the device
792 are established across an IP transport network 794,                    neutral policy parameters into device-specific com
which may include public land mobile networks (PLMN), to         10        mands, and send the device-specific commands to
provide VPN support. MPLS tunnels 792 provide pathways                     policy targets, such that the customer policy and map
between IP networks 796 and radio access networks 798.                     ping policy are implemented across at least a portion of
The method provides IP operators with a unified manage                     the network, wherein each policy target comprises a
ment tool that can configure serving edge routers 800 to                   network device, at least one of the network devices
support Diffserv/MPLS. According to one embodiment,              15         comprising an egress interface of said tunnel group.
edge routers 800 include general packet radio service                   5. The apparatus of claim 4, further comprising:
(GPRS) support nodes (SGSN), gateway GPRS support                       a user interface that is arranged to receive the customer
nodes (GGSNs) and third party MPLS routers.                                 policy and the mapping policy.
  Numerous details have been set forth in this description,              6. The apparatus of claim 4, wherein sending is such that
which is to be taken as a whole, to provide a more thorough           the interfaces associate with at least one of input roles,
understanding of the invention. In other instances, well              output roles and multi-protocol label Switching gateways of
known features have not been described in detail, so as to not        customer Source and destination host groups.
obscure unnecessarily the invention.                                    7. The apparatus of claim 4, wherein
  The invention includes combinations and Subcombina                    the policy consumer is further arranged to attach the
                                                                 25
tions of the various elements, features, functions and/or                   customer policy to the corresponding multi-protocol
properties disclosed herein. The following claims define                    label Switching tunnels and deploy the customer policy
certain combinations and Subcombinations, which are                         to interfaces of the attached multi-protocol label
regarded as novel and non-obvious. Additional claims for                    Switching tunnels.
other combinations and Subcombinations of features, func         30
                                                                        8. The apparatus of claim 4, further comprising: a data
tions, elements and/or properties may be presented in this or         base for storing the device-neutral policy parameters.
a related document.                                                     9. The apparatus of claim 4, wherein
                                                                        the service application comprises a tunnel group object
  The invention claimed is:                                                 that is arranged to create the multi-protocol label
  1. A system comprising:                                        35
                                                                            Switching tunnels by specifying end-point routers and
  a policy server device that is arranged to configure a                    inter-connecting topology.
     customer policy comprising a tunnel mode and a tunnel              10. An apparatus comprising a processor with:
     group identifier,                                                  defining means for defining a mapping policy that maps
     configure a mapping policy that maps between an                        between an experimental field and a unique per-hop
       experimental field and a unique per-hop-behavior,         40        behavior;
       and                                                              maintaining means for maintaining a customer policy, the
     send the mapping policy and the customer policy to                    customer policy comprising a tunneling mode and a
       interfaces of devices of a network that includes                    tunnel group identifier;
       multi-protocol label Switching tunnels, correspond               a translating means for translating the mapping policy, the
       ing to the tunnels, at least one of the network devices   45        network policy and customer policy into device-spe
       comprising an egress interface of one of said multi                 cific commands; and
       protocol label switching tunnels, wherein the inter              sending means for sending the device-specific commands
       faces and the customer policy are associated with a                to policy targets, wherein each policy target comprises
       same role name.                                                     a network device that includes an interface that is
                                                                 50        associated with a role name that is also associated with
   2. The system of claim 1, wherein the policy server device               the customer policy, said interfaces including an egress
translates the mapping policy into device specific com                      interface of at least one of multi-protocol label switch
mands, and sending is performed by deploying commands to                    ing tunnels.
specific devices.                                                        11. The apparatus of claim 10, wherein sending is such
   3. The system of claim 1, wherein sending is such that the    55   that the interfaces associate with at least one of input roles,
interfaces associate with at least one of input roles, output         output roles and multi-protocol label Switching gateways of
roles and multi-protocol label Switching gateways of cus              customer Source and destination host groups.
tomer Source and destination host groups.                                12. An article comprising: a storage medium, the storage
   4. An apparatus comprising:                                        medium having instructions stored thereon, wherein when
  a memory;                                                      60   the instructions are executed by at least one device, they
  a service application residing on the memory,                       result in:
    wherein the service application is arranged to configure            defining a mapping policy that maps between an experi
       a customer policy that comprises a tunnel group                    mental field and a unique per-hop-behavior;
       identifier and tunneling mode, the customer policy               defining a customer policy comprising a tunneling mode
       being arranged to have customer traffic mapped into       65       and a tunnel group identifier the customer policy being
       multi-protocol label Switching tunnels correspond                  configured to govern the treatment of individual cus
       ing to the tunnel group identifier, and                             tomer traffic;
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  defining a network policy that is configured to define the           defining a customer policy comprising a tunneling mode
    Diffserv treatment of aggregated traffic;                            and a tunnel group identifier, the customer policy being
    translating the mapping policy, the network policy and               configured to govern the treatment of individual cus
       the customer policy into device-specific commands;                    tomer traffic;
          and                                                          defining a network policy that is configured to define the
  deploying the device-specific commands to policy targets,               Diffserv treatment of aggregated traffic;
    wherein each policy target comprises a network device              translating the mapping policy, the network policy and the
    that includes an interface that is assigned a role name               customer policy into device-specific commands; and
    associated with the customer policy, at least one inter            sending the device-specific commands to policy targets,
    face comprising an egress interface of at least one         10
                                                                          wherein each policy target comprises a network device
    multi-protocol label Switching tunnel.                                that includes an interface assigned a role name associ
  13. The article of claim 12, wherein executing the instruc              ated with the customer policy, at least one of the
tions further results in:                                                 interfaces comprising an egress interface of one of
  generating device neutral information associated with the               multi-protocol label Switching tunnels.
    mapping policy, the network policy and the customer         15
                                                                       19. The method of claim 18, further comprising:
    policy.
  14. The article of claim 13, wherein the device specific             generating device neutral information associated with the
commands are generated from the device neutral informa                    mapping policy, the network policy and the customer
tion.
                                                                          policy.
  15. The article of claim 13, wherein                                 20. The method of claim 19, wherein the device specific
  executing the instructions further results in: Storing the         commands are generated from the device neutral informa
        device neutral information in a database.                    tion.
  16. The article of claim 12, wherein                                 21. The method of claim 19, further comprising: storing
  deployment is such that the interfaces associate with at           the device neutral information in a database.
    least one of input roles, output roles and multi-protocol   25      22. The method of claim 18, wherein sending is such that
    label Switching gateways of customer source and des              the interfaces associate with at least one of input roles,
    tination host groups.                                            output roles and multi-protocol label Switching gateways of
  17. The article of claim 12, wherein                               customer Source and destination host groups.
  deploying the mapping policy to the network interfaces                23. The method of claim 18, wherein sending the mapping
    further comprises issuing new commands to reconfig          30   policy to the network interfaces further comprises issuing
    ure a router based on the mapping policy.                        new commands to reconfigure a router based on the mapping
  18. A method comprising:                                           policy.
  defining a mapping policy configured to map between an
    experimental field and a unique per-hop-behavior;
